              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                      1:23-cv-00325-MR-WCM

G.P. SULLINS LAND COMPANY, LLC,                    )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )            ORDER
                                                   )
GPS QRTZ CORP.,                                    )
a/k/a GPS QUARTZ CORP.;                            )
FRANK SALVATI; and                                 )
BLAIR KRUEGER,                                     )
                                                   )
           Defendants.                             )
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        This matter is before the Court on a Motion to Join Additional Parties as

Counterclaim Plaintiff and Counterclaim Defendants (the “Motion to Join,”

Doc. 31) filed by Defendant/Counterclaim Plaintiff GPS QRTZ Corp. (“GPS”)

and a Consent Motion for Extension of Time to Respond to Counterclaims (the

“Motion to Extend,” Doc. 33) filed by Plaintiff G.P. Sullins Land Company LLC

(“Plaintiff”).

        IT IS HEREBY ORDERED THAT:

     (1) In light of the Notice of Non-Opposition filed by Plaintiff (Doc. 34), the

        Motion to Join (Doc. 31) is GRANTED as follows:

           A. Sagegate Corporation (“Sagegate”) is joined as an additional

              Counterclaim Plaintiff.


                                         1

     Case 1:23-cv-00325-MR-WCM       Document 35    Filed 12/17/24   Page 1 of 2
     B. The identifiable members of Plaintiff, as set forth in GPS’s

        counterclaims (Doc. 30), are joined as additional Counterclaim

        Defendants.

     C. GPS and Sagegate remain responsible for ensuring proper service

        of process on the additional Counterclaim Defendants.

(2) The Motion to Extend (Doc. 33) is GRANTED, and the deadline for

  Plaintiff to respond to the Counterclaims asserted by GPS and Sagegate

  is EXTENDED through and including January 14, 2025.


                            Signed: December 16, 2024




                                     2

Case 1:23-cv-00325-MR-WCM      Document 35        Filed 12/17/24   Page 2 of 2
